                                    UNPUBLISHED

                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                                      No. 17-6696


ALFONZA HARDY GREENHILL,

                    Plaintiff - Appellant,

             v.

HAROLD W. CLARKE, Director of the State of Virginia Department of
Corrections; A. DAVID ROBINSON, Chief of Corrections Operations of the State
of Virginia Department of Corrections; EARL BARKSDALE, Warden of Red
Onion State Prison,

                    Defendants - Appellees.



Appeal from the United States District Court for the Western District of Virginia, at
Roanoke. James P. Jones, District Judge. (7:16-cv-00068-JPJ-RSB)


Submitted: October 17, 2017                                   Decided: October 31, 2017


Before NIEMEYER and MOTZ, Circuit Judges, and HAMILTON, Senior Circuit Judge.


Affirmed by unpublished per curiam opinion.


Alfonza Hardy Greenhill, Appellant Pro Se. Laura Haeberle Cahill, OFFICE OF THE
ATTORNEY GENERAL OF VIRGINIA, Mary Grace Miller, Assistant Attorney
General, Richmond, Virginia, for Appellees.


Unpublished opinions are not binding precedent in this circuit.



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PER CURIAM:

       Alfonza Hardy Greenhill appeals the district court’s order adopting the magistrate

judge’s report and denying his motion for a preliminary injunction. We have reviewed

the record and conclude that the district court did not abuse its discretion in denying the

motion. * See Dewhurst v. Century Aluminum Co., 649 F.3d 287, 290 (4th Cir. 2011)

(stating standard of review). Accordingly, we affirm the district court’s order. Greenhill

v. Clarke, No. 7:16-cv-00068-JPJ-RSB (W.D. Va. May 10, 2017). We dispense with oral

argument because the facts and legal contentions are adequately presented in the

materials before this court and argument would not aid the decisional process.



                                                                              AFFIRMED




       *
         By this disposition, we express no opinion as to the ultimate merits of
Greenhill’s claims.


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